                         IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION
                                           3:05cr392

UNITED STATES OF AMERICA                              )
                                                      )
                  vs.                                 )                       ORDER
                                                      )
RUFO MIGUEL ANGEL PEREZ-TAPIA (2)                     )
MAURICO LAGUNEZ-CONTERRAS (3)                         )
                                                      )


        THIS MATTER is before the Court on its own motion and the motion of RUFO

MIGUEL ANGEL PEREZ-TAPIA (Doc. No. 36) to continue this matter from the February 6,

2006 trial term in the Charlotte Division.

        The Court finds, for the reasons stated in defendant’s motion, that he has stated sufficient

cause for a continuance in this matter. The Court further finds that the ends of justice served by

taking such action outweigh the interests of the public and the defendant to a speedy trial as set

forth in 18 U.S.C. § 3161(h)(8)(1).

        The Court further finds that the other defendants’ cases are “joined for trial with a co-

defendant as to whom the time for trial has not run and no motion for severance has been

granted,” 18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends of

justice served by taking such action outweigh the best interest of the public and the defendants to

a speedy trial.




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       IT IS, THEREFORE, ORDERED, that this case as to all defendants who are pending

for trial is hereby continued to the April 3, 2006 trial term of Court in the Charlotte Division.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.



                                                  Signed: January 25, 2006




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